106 F.3d 391
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anita RHINEHART, Widow of Will Rhinehart, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PRO GRAMS, UnitedStates Department of Labor, Respondent.
    No. 96-1885.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1997.Decided Jan. 24, 1997.
    
      On Petition for Review of an Order of the Benefits Review Board.  (96-311-BLA)
      Anita Rhinehart, Petitioner Pro Se.  Patricia May Nece, Rodger Pitcairn, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondent.
      Before WIDENER, ERVIN, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. §§ 901-945 (West 1986 &amp; Supp.1996).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Rhinehart v. Director, OWCP, No. 96-311-BLA (B.R.B. May 30, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    